     Case 1:24-cv-07545-NRM-LKE            Document 1        Filed 10/29/24    Page 1 of 30 PageID #: 1




      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ----------------------------------- x
      PAUL ABRAMSON, on behalf of himself and all :                  Case no. 1:24-cv-7545
      others similarly situated,                  :
                                                  :
                             Plaintiffs,          :
                                                  :                 CLASS ACTION COMPLAINT
                              v.                  :                           AND
                                                  :                  DEMAND FOR JURY TRIAL
      Dp Hospitality Group, LLC,                  :
                                                  :
                             Defendant.           :
                                                  :
                                                  :
      ----------------------------------- x


                                              INTRODUCTION

1.    Plaintiff, PAUL ABRAMSON (hereinafter “Plaintiff” or “ABRAMSON”), brings this action on

      behalf of himself and all other persons similarly situated against Dp Hospitality Group, LLC

      (hereinafter “Dp Hospitality Group” or “Defendant”), and states as follows:


2.    Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

      read website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired” to

      refer to all people with visual impairments who meet the legal definition of blindness in that they

      have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet

      this definition have limited vision; others have no vision.


3.    Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

      are visually impaired, including 2.0 million who are blind, and according to the American

      Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

      the State of New York.




                                                        1
     Case 1:24-cv-07545-NRM-LKE             Document 1         Filed 10/29/24      Page 2 of 30 PageID #: 2




4.    Plaintiff brings this civil rights action against Dp Hospitality Group for their failure to design,

      construct, maintain, and operate their website to be fully accessible to and independently usable

      by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

      visually impaired persons throughout the United States with equal access to services Dp Hospitality

      Group provides to their non-disabled customers through https://www.brooklynchophouse.com

      (hereinafter “Brooklynchophouse.com” or “the website”). Defendant’s denial of full and equal

      access to its website, and therefore denial of its services offered, and in conjunction with its physical

      locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).


5.    Brooklynchophouse.com provides to the public a wide array of services, price specials and other

      programs offered by Dp Hospitality Group. Dp Hospitality Group specializes in dining services

      with a focus on combining steakhouse classics and Asian cuisine, along with private event hosting,

      rooftop bar access, pick-up and delivery options. Yet, Brooklynchophouse.com contains significant

      access barriers that make it difficult if not impossible for blind and visually-impaired customers to

      use the website. In fact, the access barriers make it impossible for blind and visually-impaired users

      to enjoy and learn about the services at Brooklynchophouse.com prior to entering Defendant’s

      physical location. Thus, Dp Hospitality Group excludes the blind and visually-impaired from the

      full and equal participation in the growing Internet economy that is increasingly a fundamental part

      of the common marketplace and daily living. In the wave of technological advances in recent years,

      assistive computer technology is becoming an increasingly prominent part of everyday life,

      allowing blind and visually-impaired persons to fully and independently access a variety of

      services.


6.    The blind have an even greater need than the sighted to have access to various websites in order to

      compare merchandise, benefits and prices, to get more information about the companies, their



                                                         2
     Case 1:24-cv-07545-NRM-LKE            Document 1       Filed 10/29/24      Page 3 of 30 PageID #: 3




      locations and hours of operation. The lack of an accessible website deters blind people from visiting

      Defendant’s physical location and enjoying services that it provides to the public.


7.    Despite readily available accessible technology, such as the technology in use at other heavily

      trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

      resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

      exclusively visual interface. Dp Hospitality Group’s sighted customers can independently browse

      and learn more information about the company and its services without the assistance of others.

      However, blind persons must rely on sighted companions to assist them in accessing

      Brooklynchophouse.com.


8.    By failing to make the website accessible to blind persons, Defendant is violating basic equal access

      requirements under both state and federal law.


9.    Congress provided a clear and national mandate for the elimination of discrimination against

      individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

      integration, independent living, and equal opportunity for persons with disabilities, including those

      barriers created by websites and other public accommodations that are inaccessible to blind and

      visually impaired persons. Similarly, New York state law requires places of public accommodation

      to ensure access to goods, services, and facilities by making reasonable accommodations for

      persons with disabilities.


10. Plaintiff browsed and intended to place an online order on Brooklynchophouse.com. Despite his

      efforts, however, Plaintiff was denied an online experience like that of a sighted individual due to

      the Website’s lack of a variety of features and accommodations. Unless Defendant remedies the




                                                       3
   Case 1:24-cv-07545-NRM-LKE            Document 1       Filed 10/29/24     Page 4 of 30 PageID #: 4




    numerous access barriers on its website, Plaintiff and Class members will continue to be unable to

    independently navigate, browse and use Brooklynchophouse.com.


11. Because Defendant’s website, Brooklynchophouse.com, is not equally accessible to blind and

    visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause

    a change in Dp Hospitality Group’s policies, practices, and procedures to that Defendant’s website

    will become and remain accessible to blind and visually-impaired consumers. This complaint also

    seeks compensatory damages to compensate Class members for having been subjected to unlawful

    discrimination.


                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C. §

    12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).


13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.




                                                     4
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24      Page 5 of 30 PageID #: 5




14. Defendant is registered to do business in New York State and has been conducting business in New

    York State, including in this District. Defendant purposefully targets and otherwise solicits business

    from New York State residents through its website. Because of this targeting, it is not unusual for

    Dp Hospitality Group to conduct business with New York State residents. Defendant also has been

    and is committing the acts alleged herein in this District and has been and is violating the rights of

    consumers in this District and has been and is causing injury to consumers in this District. A

    substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred in this

    District. Most courts support the placement of venue in the district in which Plaintiff tried and failed

    to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287 (D. Mass.

    2017), Judge Patti B. Saris ruled that “although the website may have been created and operated

    outside of the district, the attempts to access the website in Massachusetts are part of the sequence

    of events underlying the claim. Therefore, venue is proper in [the District of Massachusetts].” Otter

    Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm – the barred access to

    the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.” Sportswear,

    No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a customer base

    in a particular district is sufficient cause for venue placement.


                                                  PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Kings County, State of New York.




                                                       5
   Case 1:24-cv-07545-NRM-LKE            Document 1       Filed 10/29/24      Page 6 of 30 PageID #: 6




16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, PAUL

    ABRAMSON, cannot use a computer without the assistance of screen reader software. Plaintiff has

    been denied the full enjoyment of the facilities and services of Brooklynchophouse.com as a result

    of accessibility barriers on Brooklynchophouse.com.

17. Defendant, Dp Hospitality Group, LLC, is a New York Limited Liability Company doing business

    in this State with its principal place of business located at 418 Broadway, Suite R, Albany, NY

    12207.

18. Dp Hospitality Group provides to the public a website known as Brooklynchophouse.com which

    provides consumers with dining services, private events, pick-up and delivery options which

    Defendant offers in connection with their physical location. Consumers across the United States

    use Defendant’s website to find the information about the restaurant locations and hours of

    operation, as well as information about the goods and services in its physical locations. Defendant’s

    website is a place of public accommodation within the definition of Title III of the ADA, 42 U.S.C.

    § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898

    (E.D.N.Y. August 1, 2017). Plaintiff has been denied the full enjoyment of the facilities, goods and

    services of Brooklynchophouse.com, as well as deprived of the opportunity to enjoy the facilities,

    goods and services of Defendant’s brick and mortar locations, as a result of accessibility barriers

    on Brooklynchophouse.com.




                                                     6
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24      Page 7 of 30 PageID #: 7




                                          NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.


20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual vision

    is still sufficient to use magnification, screen access software provides the only method by which a

    blind person can independently access the Internet. Unless websites are designed to allow for use

    in this manner, blind persons are unable to fully access Internet websites and the information,

    products and services contained therein.


21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user is

    unable to access the same content available to sighted users.


22. Blind users of Windows operating system-enabled computers and devices have several screen-

    reading software programs available to them. NonVisual Desktop Access, otherwise known as

    “NVDA”, is currently one of the most popular, and downloaded screen-reading software programs

    available for blind computer users.


23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.2 of the Web Content Accessibility

    Guidelines (“WCAG 2.2”). WCAG 2.2 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by




                                                       7
   Case 1:24-cv-07545-NRM-LKE            Document 1       Filed 10/29/24     Page 8 of 30 PageID #: 8




    most large business entities and government agencies to ensure their websites are accessible. Many

    Courts have also established WCAG 2.2 as the standard guideline for accessibility. The federal

    government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic components

    for making websites accessible, including but not limited to: adding invisible alt-text to graphics,

    ensuring that all functions can be performed using a keyboard and not just a mouse, ensuring that

    image maps are accessible, and adding headings so that blind persons can easily navigate the site.

    Without these very basic components, a website will be inaccessible to a blind person using a screen

    reader. Websites need to be accessible to the “least sophisticated” user of screen-reading software

    and need to be able to work with all browsers. Websites need to be continually updated and

    maintained to ensure that they remain fully accessible.


                                      FACTUAL ALLEGATIONS


24. Defendant controls and operates Brooklynchophouse.com in New York State and throughout the

    United States.


25. Brooklynchophouse.com is a commercial website and online platform that provides restaurant

    services, offering a blend of classic steakhouse and Asian cuisine in connection with the

    Defendant's physical locations.


26. Among the features offered by Brooklynchophouse.com are the following:




                                                     8
   Case 1:24-cv-07545-NRM-LKE             Document 1       Filed 10/29/24       Page 9 of 30 PageID #: 9




          a) Customers may find information about restaurant locations and hours of operation, as

              well as information about the services in its physical locations, and find information

              about available offers and programs;


          b) Consumers may use the website to connect with Dp Hospitality Group, LLC on various

              social media platforms, including Facebook, Twitter, Instagram;

          c) Learning about the company and reading blog posts, amongst other features.

27. This case arises out of Dp Hospitality Group’s policy and practice of denying the blind access to

    the services offered by Brooklynchophouse.com. Due to Dp Hospitality Group’s failure and refusal

    to remove access barriers to Brooklynchophouse.com, blind individuals have been and are being

    denied equal access to Dp Hospitality Group, as well as to the numerous goods, services and

    benefits offered to the public through Brooklynchophouse.com.


28. Dp Hospitality Group denies the blind access to goods, services and information made available

    through     Brooklynchophouse.com         by     preventing    them     from     freely    navigating

    Brooklynchophouse.com.


29. Brooklynchophouse.com contains access barriers that prevent free and full use by Plaintiff and

    blind persons using keyboards and screen-reading software. These barriers are pervasive and

    include, but are not limited to: inaccurate landmark structure, ambiguous link texts, inaccessible

    contact information, changing of content without advance warning, unclear labels for interactive

    elements, lack of alt-text on graphics links, inaccurate drop-down menus, the lack of navigation

    links, the lack of adequate labeling of form fields, the denial of keyboard access for some interactive

    elements and the requirement that transactions be performed solely with a mouse.




                                                      9
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24      Page 10 of 30 PageID #:
                                                  10



30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can speak

    the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There

    are many important pictures on Brooklynchophouse.com that lack a text equivalent. The lack of

    alt-text on these graphics prevents screen readers from accurately vocalizing a description of the

    graphics (screen-readers detect and vocalize alt-text to provide a description of the image to a blind

    computer user). As a result, Plaintiff and blind Brooklynchophouse.com customers are unable to

    determine what is on the website.


31. Brooklynchophouse.com also lacks prompting information and accommodations necessary to allow

    blind customers who use screen-readers to locate and accurately fill-out online forms. Due to lack

    of adequate labeling, Plaintiff and blind customers cannot find information about the restaurant, its

    services and location, offered by Defendant in connection with its physical locations.


32. When visiting the Website, Plaintiff, using NVDA, encountered the following specific accessibility

    issues:


              a) “Skip to content” link was not implemented. Plaintiff was not provided with the

                 mechanism to bypass repeated blocks of content;

              b) Landmarks were not properly inserted into the home page. Plaintiff tried to navigate

                 the home page using landmarks but could not access its main regions because of

                 landmark inaccurate markup;

              c) Landmark structure was incorrectly defined. Due to repetitive landmark labels, it was

                 difficult for Plaintiff to understand the page section they led to;




                                                     10
Case 1:24-cv-07545-NRM-LKE           Document 1      Filed 10/29/24      Page 11 of 30 PageID #:
                                             11



        d) The Navigation menu did not allow the repeated content to be expanded or collapsed,

           and it expanded automatically after receiving focus;

        e) Several links had ambiguous texts that were unclear to Plaintiff. Lack of detailed

           description of the link target and destination page made it difficult for Plaintiff to

           perceive their purpose;

        f) Plaintiff encountered interactive images that were used as links that did not describe

           the content of the link target. There were no details what kind of information can be

           found on the destination page;

        g) Interactive elements from the website could not be focused with the Tab key. The

           website did not provide helpful instructions on how to access the interactive element

           using arrow keys. Plaintiff did not know about the interactive element from the page;

        h) Links led to other websites and did not indicate that they were external. Plaintiff was

           disoriented on another website. The link text failed to warn legally blind customers

           about the significant change of the context;

        i) Plaintiff tried to follow the links from the website and received no prior warning that

           the links opened new windows. As a result, Plaintiff unsuccessfully tried to use the

           “Back” function of the browser to go to the previous page and became disoriented;

        j) Interactive elements on the web page had inappropriate and non-descriptive name.

           Plaintiff could not identify the purpose of the interactive element;

        k) Unclear and ambiguous labels for form fields impeded Plaintiff from correct

           information input. Plaintiff was unaware of the purpose of the interactive element and

           could not understand what information was required;

        l) Plaintiff was unable to determine if the form fields were mandatory (“Required”). The




                                               11
   Case 1:24-cv-07545-NRM-LKE            Document 1       Filed 10/29/24      Page 12 of 30 PageID #:
                                                 12



                 lack of detailed instructions while filling in the form, prevented Plaintiff from

                 successfully submission of personal information;

             m) Errors are not associated with corresponding forms and fail to clearly indicate which

                 field had the problem so the user can easily navigate to it. Fields must be marked as

                 containing an error and must be announced by the assistive technology;

             n) Plaintiff encountered a warning message that was not announced by the screen reader

                 software. The User was not informed what field were incorrectly completed;

             o) The phone number on the website was presented in plain text, and therefore was non-

                 interactive and inaccessible to the screen reader. As a result, Plaintiff was unable to

                 contact customer support to clarify details about products or purchase procedure.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendant’s Brooklynchophouse.com.


33. Brooklynchophouse.com requires the use of a mouse to complete a transaction. Yet, it is a

    fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and blind

    people, it must be possible for the user to interact with the page using only the keyboard. Indeed,

    Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual activity of

    moving the mouse pointer from one visual spot on the page to another. Thus,

    Brooklynchophouse.com’s inaccessible design, which requires the use of a mouse, denies Plaintiff

    and blind customers the ability to independently navigate Brooklynchophouse.com.


34. Due to Brooklynchophouse.com’s inaccessibility, Plaintiff and blind customers cannot find

    information about the location of restaurant, provided services and some additional information

    about the services and goods located in restaurant. By contrast, if Brooklynchophouse.com was




                                                    12
   Case 1:24-cv-07545-NRM-LKE            Document 1        Filed 10/29/24      Page 13 of 30 PageID #:
                                                 13



    accessible, a blind person could independently investigate services, compare features, discounts,

    promotions and prices via the Internet as sighted individuals can and do. According to WCAG 2.2

    Guideline 2.4.1, a mechanism is necessary to bypass blocks of content that are repeated on multiple

    webpages because requiring users to extensively tab before reaching the main content is an

    unacceptable barrier to accessing the website. Plaintiff must tab through every navigation bar

    element on Defendant’s website in an attempt to reach the desired service. Thus, Dp Hospitality

    Group has inaccessible design that deprives the Plaintiff and blind customers of the opportunity to

    use and enjoy Brooklynchophouse.com on their own.


35. Brooklynchophouse.com thus contains access barriers which deny the full and equal access to

    Plaintiff, who would otherwise use Brooklynchophouse.com and who would otherwise be able to

    fully and equally enjoy the benefits and services of Brooklynchophouse.com in New York State

    and throughout the United States.


36. Plaintiff, PAUL ABRAMSON, has made an attempt to visit and use Brooklynchophouse.com. On

    August 23, 2024, Plaintiff was searching for a popular steakhouse in NYC when an online search

    led him to the Defendant's website, Brooklynchophouse.com. He enjoys American-style dishes and

    before visiting the restaurant with his family or friends, he decided to review their fusion cuisine.

    While trying to review the offerings on the site, he accessed the "Order Online" category. However,

    he encountered several accessibility issues, including unexpected changes in content, such as

    external links and new window links that opened without advance warning, ambiguous labels for

    interactive elements, and inadequate labeling for form fields. Additionally, when attempting to add

    a desired product to the cart, he faced challenges that made the navigation difficult for the screen-

    reading software user. Specifically, he could not locate the "View Cart" button after selecting a

    product. The website did not provide an intuitive way to access the "View Cart" button after



                                                     13
   Case 1:24-cv-07545-NRM-LKE              Document 1        Filed 10/29/24       Page 14 of 30 PageID #:
                                                   14



    selecting a dish, complicating the ordering process. These access barriers have caused

    Brooklynchophouse.com to be inaccessible to, and not independently usable by blind and visually-

    impaired persons. Amongst other access barriers experienced, Plaintiff was unable to learn more

    information about restaurant locations and hours of operation, compare prices and benefits and learn

    more information about the goods and services in its physical location.


37. Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

    numerous accessibility barriers on it. Plaintiff is interested in the fusion of Asian cuisine and classic

    New York-style steakhouse fare and would also benefit from their services, such as private events,

    pick-up, and delivery options. Thus, Plaintiff would like to visit the Defendant's restaurant located

    at 150 Nassau Street, New York, NY 10038.


38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Brooklynchophouse.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.


39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the benefits

    and services of Brooklynchophouse.com.


40. Defendant engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or



                                                       14
   Case 1:24-cv-07545-NRM-LKE                Document 1        Filed 10/29/24       Page 15 of 30 PageID #:
                                                     15



               (c) failed to take actions to correct these access barriers in the face of substantial harm and

                  discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.


42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Brooklynchophouse.com, Plaintiff and the class have suffered an injury-in-fact

    which is concrete and particularized and actual and is a direct result of Defendant’s conduct.


                                      CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally     blind   individuals    in   the   United     States   who    have    attempted    to   access

    Brooklynchophouse.com and as a result have been denied access to the enjoyment of goods and

    services offered by Brooklynchophouse.com, during the relevant statutory period.”


44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Brooklynchophouse.com and as a result have been denied access to the

    enjoyment of goods and services offered by Brooklynchophouse.com, during the relevant statutory

    period.”


45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the




                                                        15
   Case 1:24-cv-07545-NRM-LKE              Document 1        Filed 10/29/24       Page 16 of 30 PageID #:
                                                   16



    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.


46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Brooklynchophouse.com. Due to

    Defendant’s policy and practice of failing to remove access barriers, blind persons have been and

    are being denied full and equal access to independently browse Brooklynchophouse.com.


47. There are common questions of law and fact common to the class, including without limitation, the

    following:


             (a) Whether Brooklynchophouse.com is a “public accommodation” under the ADA;


             (b) Whether Brooklynchophouse.com is a “place or provider of public accommodation”

                 under the laws of New York;


             (c) Whether Defendant, through its website, Brooklynchophouse.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the ADA; and


             (d) Whether Defendant, through its website, Brooklynchophouse.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the law of New York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the Plaintiff,

    is severely visually-impaired or otherwise blind, and claims Dp Hospitality Group has violated the

    ADA, and/or the laws of New York by failing to update or remove access barriers on their website,




                                                       16
   Case 1:24-cv-07545-NRM-LKE               Document 1         Filed 10/29/24   Page 17 of 30 PageID #:
                                                    17



    Brooklynchophouse.com, so it can be independently accessible to the class of people who are

    legally blind.


49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in complex

    class action litigation, and because Plaintiff has no interests antagonistic to the members of the

    class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

    Defendant has acted or refused to act on grounds generally applicable to the Class, making

    appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.


50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only

    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.


51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.


52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the class,

    unless otherwise indicated.


                                        FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of the

    preceding paragraphs as if fully set forth herein.




                                                          17
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24       Page 18 of 30 PageID #:
                                                  18



54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or methods

    of administration that have the effect of discriminating on the basis of disability.” 42 U.S.C.

    § 12181(b)(2)(D)(I).


55. Brooklynchophouse.com is a public accommodation within the definition of 42 U.S.C. §§

    12181(7).


56. Defendant is subject to Title III of the ADA because it owns and operates Brooklynchophouse.com.


57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.


58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.


59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,




                                                      18
   Case 1:24-cv-07545-NRM-LKE             Document 1       Filed 10/29/24      Page 19 of 30 PageID #:
                                                  19



    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”


60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an undue

    burden.”


61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring adequate

    prompting and accessible alt-text. Incorporating the basic components to make their website

    accessible would neither fundamentally alter the nature of Defendant’s business nor result in an

    undue burden to Defendant.


62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq., and

    the regulations promulgated thereunder. Patrons of Dp Hospitality Group who are blind have been

    denied full and equal access to Brooklynchophouse.com, have not been provided services that are

    provided to other patrons who are not disabled, and/or have been provided services that are inferior

    to the services provided to non-disabled patrons.




                                                     19
   Case 1:24-cv-07545-NRM-LKE              Document 1        Filed 10/29/24   Page 20 of 30 PageID #:
                                                   20



63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.


64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Brooklynchophouse.com in violation of Title III of the Americans with Disabilities

    Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.


65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff

    and members of the proposed class and subclass will continue to suffer irreparable harm.


66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes his

    statutory right to injunctive relief to remedy the discrimination.


67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION

                      (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                  Article 15 (Executive Law § 292 et seq.))


69. Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of the

    preceding paragraphs as if fully set forth herein.


70. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any person,

    being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any place of




                                                       20
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24      Page 21 of 30 PageID #:
                                                  21



    public accommodation . . . because of the . . . disability of any person, directly or indirectly, to

    refuse, withhold from or deny to such person any of the accommodations, advantages, facilities or

    privileges thereof.”


71. Brooklynchophouse.com is a public accommodation within the definition of N.Y. Exec. Law §

    292(9).


72. Defendant is subject to the New York Human Rights Law because it owns and operates

    Brooklynchophouse.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).


73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

    to Brooklynchophouse.com, causing Brooklynchophouse.com to be completely inaccessible to the

    blind. This inaccessibility denies blind patrons the full and equal access to the facilities, goods and

    services that Defendant makes available to the non-disabled public.


74. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

    things, “a refusal to make reasonable modifications in policies, practices, or procedures, when such

    modifications are necessary to afford facilities, privileges, advantages or accommodations to

    individuals with disabilities, unless such person can demonstrate that making such modifications

    would fundamentally alter the nature of such facilities, privileges, advantages or accommodations.”


75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”




                                                      21
   Case 1:24-cv-07545-NRM-LKE              Document 1       Filed 10/29/24       Page 22 of 30 PageID #:
                                                   22



76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Brooklynchophouse.com under N.Y. Exec. Law § 296(2) et seq. and/or its



                                                      22
   Case 1:24-cv-07545-NRM-LKE              Document 1        Filed 10/29/24     Page 23 of 30 PageID #:
                                                   23



    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.


81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.


82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.


                                       THIRD CAUSE OF ACTION

                               (Violation of New York State Civil Rights Law,
                              NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of the

     preceding paragraphs as if fully set forth herein.


85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law § 41.


86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or




                                                       23
   Case 1:24-cv-07545-NRM-LKE                  Document 1   Filed 10/29/24     Page 24 of 30 PageID #:
                                                       24



    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”


87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term is

    defined in section two hundred ninety-two of executive law, be subjected to any discrimination in

    his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”


88. Brooklynchophouse.com is a public accommodation within the definition of N.Y. Civil Rights Law

    § 40-c(2).


89. Defendant is subject to New York Civil Rights Law because it owns and operates

    Brooklynchophouse.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).


90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Brooklynchophouse.com, causing Brooklynchophouse.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods and services that Defendant makes available to the non-disabled public.


91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.




                                                      24
   Case 1:24-cv-07545-NRM-LKE             Document 1         Filed 10/29/24     Page 25 of 30 PageID #:
                                                  25



92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred dollars,

    to be recovered by the person aggrieved thereby . . .”


93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and every

    violation thereof be liable to a penalty of not less than one hundred dollars nor more than five

    hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”


94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.


96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.




                                                      25
   Case 1:24-cv-07545-NRM-LKE             Document 1        Filed 10/29/24       Page 26 of 30 PageID #:
                                                  26



                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of the

     preceding paragraphs as if fully set forth herein.


98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”


99. Brooklynchophouse.com is a public accommodation within the definition of N.Y.C. Administrative

    Code § 8-102(9).


100. Defendant is subject to City Law because it owns and operates Brooklynchophouse.com. Defendant

    is a person within the meaning of N.Y.C. Administrative Code § 8-102(1).


101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Brooklynchophouse.com, causing Brooklynchophouse.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods, and services that Defendant makes available to the non-disabled public.

    Specifically, Defendant is required to “make reasonable accommodation to the needs of persons

    with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating

    on the basis of disability shall make reasonable accommodation to enable a person with a disability




                                                      26
   Case 1:24-cv-07545-NRM-LKE              Document 1       Filed 10/29/24       Page 27 of 30 PageID #:
                                                   27



    to . . . enjoy the right or rights in question provided that the disability is known or should have been

    known by the covered entity.” N.Y.C. Administrative Code § 8107(15)(a).


102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Brooklynchophouse.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or

    its implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

    these unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.




                                                      27
   Case 1:24-cv-07545-NRM-LKE               Document 1        Filed 10/29/24    Page 28 of 30 PageID #:
                                                    28



105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes his

     right to injunctive relief to remedy the discrimination.


106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under N.Y.C.

     Administrative Code § 8-120(8) and § 8-126(a) for each offense.


107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

     and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.


                                        FIFTH CAUSE OF ACTION

                                              (Declaratory Relief)


109. Plaintiff, on behalf of himself and the Class Members, repeats and realleges every allegation of the

      preceding paragraphs as if fully set forth herein.


110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

     is informed and believes that Defendant denies, that Brooklynchophouse.com contains access

     barriers denying blind customers the full and equal access to the goods, services and facilities of

     Brooklynchophouse.com, which Dp Hospitality Group owns, operates and/or controls, fails to

     comply with applicable laws including, but not limited to, Title III of the American with Disabilities

     Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code

     § 8-107, et seq. prohibiting discrimination against the blind.


111. A judicial declaration is necessary and appropriate at this time in order that each of the parties may

     know their respective rights and duties and act accordingly.




                                                        28
Case 1:24-cv-07545-NRM-LKE           Document 1       Filed 10/29/24      Page 29 of 30 PageID #:
                                             29



                                     PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

against the Defendants as follows:


         a) A preliminary and permanent injunction to prohibit Defendant from violating the

            Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

            et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;


         b) A preliminary and permanent injunction requiring Defendant to take all the steps

            necessary to make its website, Brooklynchophouse.com, into full compliance with the

            requirements set forth in the ADA, and its implementing regulations, so that

            Brooklynchophouse.com is readily accessible to and usable by blind individuals;


         c) A declaration that Defendant owns, maintains and/or operates its website,

            Brooklynchophouse.com, in a manner which discriminates against the blind and which

            fails to provide access for persons with disabilities as required by Americans with

            Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

            Administrative Code § 8-107, et seq., and the laws of New York;


         d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

            and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

            Counsel;


         e) An order directing Defendants to continually update and maintain its website to ensure

            that it remains fully accessible to and usable by the visually-impaired;




                                                29
Case 1:24-cv-07545-NRM-LKE          Document 1       Filed 10/29/24      Page 30 of 30 PageID #:
                                            30



        f) Compensatory damages in an amount to be determined by proof, including all

          applicable statutory damages and fines, to Plaintiff and the proposed class for violations

          of their civil rights under New York State Human Rights Law and City Law;


        g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

          and federal law;


        h) For pre- and post-judgment interest to the extent permitted by law; and


        i) For such other and further relief which this court deems just and proper.




Dated: Manhasset, NY
October 29, 2024

                                            GABRIEL A. LEVY, P.C.
                                            Attorney for Plaintiff

                                            /s/ Gabriel A. Levy, Esq.

                                            By: GABRIEL A. LEVY, ESQ (5488655)
                                                1129 Northern Blvd, Suite 404
                                                Manhasset, NY 11030
                                                Tel: +1 347-941-4715
                                                Email: Glevyfirm@gmail.com




                                               30
